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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW MEXICO

HENRY NEZ, JR., HAROLD BROWN,
VERNON YAZZIE, and HECTOR
MAYORGA, on behalf of themselves and
others similarly situated,

Plaintiffs, NO. 1:15-CV-01041-RJ

Vv.

SOUTHWEST GLASS AND GLAZING,

INC., ANTHONY S. BACA, CAROL J.

MCCARTHY, AND KIRA A. SOWANIC,
Defendants.

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ORDER GRANTING IN PART AND DENYING IN PART
DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

BEFORE THE COURT is Defendants Southwest Glass & Glazing, Inc., Anthony S. Baca,
Carol J. McCarthy, and Kira A. Sowanick’s (collectively, “Defendants”) Motion for Summary
Judgment. (Doc. 74). Defendants move the Court to enter summary judgment in their favor on all
claims asserted against them in Plaintiffs Henry Nez, Jr., Harold Brown, Vernon Yazzie and Hector
Mayorga’s (collectively, “Plaintiffs”) Second Amended Complaint (Doc. 71). After due
consideration, Defendants’ Motion for Summary Judgment shall be GRANTED in part and
DENIED in part. (Doc. 74).

I BACKGROUND

Plaintiffs bring this action both individually and on behalf of all others similarly situated
against Defendants asserting violations of the Fair Labor Standards Act (“FLSA”), 29 U.S.C. § 201,
et seq., the New Mexico Minimum Wage Act, N.M.S.A. 1978 § 50-4-19, ef seq., the New Mexico
Public Works Minimum Wage Act, and state common law. (Doc. 71). Plaintiffs allege Defendants
failed to pay them the required prevailing wage rates for all work on public construction projects
subject to the Public Works Act. (/d.). In addition, Plaintiffs contend that Southwest Glass failed to
pay them and other glaziers at the proper rate of overtime for all hours worked over forty per week,

giving rise to liability under the FLSA and the Minimum Wage Act. (/d.).
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On August 23, 2016, the Court granted Plaintiffs’ Motion for Conditional Certification under
the Fair Labor Standards Act (“FLSA”), 29 U.S.C. § 201, ef seq., and conditionally certified the
following class: All current and former glaziers who have worked for Southwest Glass and Glazing,
Inc. during the three-year period before August 23, 2016. (Doc. 60 at 5). On September 28, 2016,
Plaintiffs filed their Second Amended Complaint against Defendants. (Doc. 71).

On September 29, 2016, Defendants filed their Motion for Summary Judgment. (Doc. 74).
Defendants contend that the undisputed facts show Plaintiffs were paid the proper prevailing wage
rates at all times and that travel time to and from the job sites on which the actual work was
performed is not compensable. (/d.). On November 4, 2016, Plaintiffs filed their Response to
Defendants’ Motion for Summary Judgment. (Doc. 85). On November 21, 2016, Defendants filed
their Reply in Support of Motion for Summary Judgment. (Doc. 92). This matter is now ready for
disposition.

I. LEGAL STANDARD

Summary judgment is appropriate “if the movant shows that there is no genuine dispute as to
any material fact and the movant is entitled to judgment as a matter of law.” Lenox MacLaren
Surgical Corp. v. Medtronic, Inc., 762 F.3d 1114, 1118 (10th Cir. 2014) (quoting Fed. R. Civ. P.
56(a)). An issue “is genuine if there is sufficient evidence on each side so that a rational trier of fact
could resolve the issue either way, and a fact is material if under the substantive law it is essential to
the proper disposition of the claim.” Varnell v. Dora Consol. School Dist., 756 F.3d 1208, 1212
(10th Cir. 2014). Thus, “a mere factual dispute need not preclude summary judgment.” Sapone v.
Grand Targhee, Inc., 308 F.3d 1096, 1100 (10th Cir. 2002). In evaluating the Motion, this Court will
“consider all facts and evidence in the light most favorable to the parties opposing summary

judgment.” Ron Peterson Firearms, LLC v. Jones, 760 F.3d 1147, 1154 (10th Cir. 2014).
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I. © UNDISPUTED MATERIAL FACTS

Defendants provide and install glass and frames for glass in new, non-residential
construction, with a large percentage of their projects classified as public works projects under New
Mexico law. (Doc. 74-1 at 25:11-19, 64:6-14). Defendants employ field employees in three job
classifications: glaziers, apprentice glaziers, and helpers. (/d. at 26:14-20). To be classified as an
apprentice glazier, an employee must be registered in an apprenticeship program approved by the
New Mexico Department of Workforce Solutions. (/d. at 15:5-7; 26:21-23; 79:11-13). Defendants’
employees that work on construction projects covered by the Public Works Act are paid wage rates
determined by the New Mexico Department of Workforce Solutions for all work performed on the
job site. (/d. at 22:21-23:9).

Defendants pay employees for the time spent travelling from one job site to another job site
within the work day. (/d. at 108:22—109:2). Defendants do not require field employees to report to
the Albuquerque shop at the beginning of the workweek or to return to the Albuquerque shop at the
end of the workweek. (Doc. 74-3 at 56:18-23). Employees may report directly to the job site at the
beginning of the week and return home from the job site at the end of the week. (/d. at 57:5-21).
Many employees go to the Albuquerque shop at the beginning of the workweek to catch a ride in a
company vehicle to the job site and then return to the Albuquerque shop at the end of the week ina
company vehicle to collect their personal vehicles left at the Albuquerque shop. (Doc. 74-1 at
97:16-98:1; Doc. 74-3 at 31:1-32:7).

On occasion, employees who voluntarily report to the Albuquerque shop at the beginning of
the workweek to ride in a company vehicle to the job site will spend time loading a trailer with
materials for the job and they are paid for this time. (Doc. 74-1 at 56:5-11; Doc. 74-3 at 58:]4—23).
Defendants pay all field employees at the rate of $10.00 per hour for the average time it would take
to travel from the Albuquerque shop at the beginning of the week to the job site and returning from

the job site to the Albuquerque shop at the end of the week. (Doc. 74-3 at 48:13-19, 49:13-50:4).
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Employees are paid this amount regardless of whether they drive or ride and regardless of whether
they come to the Albuquerque shop to ride in a company vehicle or travel from their homes directly
to the job site without going to the Albuquerque shop. (Doc. 74-5 at J 11).

A. Plaintiff Henry Nez, Jr.

Plaintiff Henry Nez, Jr. (“Nez”) has been employed by Defendants since June 2008 and
currently works in the field as a glazier on construction projects. (Doc. 74-7 at 3:9-18, 4:12-16,
5:24-6:6). Nez did not generally report to the Albuquerque shop; rather, Nez reported directly to the
job site unless his route took him through Albuquerque. (/d. at 19:18-24, 55:25-56:9). Nez was
required to report to the job site on Monday moming and would return home at the end of the
workday on Thursday if he did not ride in a company vehicle from the Albuquerque shop. (Jd. at
24:5-22, 26:1-9). Nez was paid at the designated glazier wage rate for all of his work on the job site.
(id. at 31:13-16). Nez received subsistence for any out-of-town and private projects he worked on,
which included a weekly per diem to cover food and lodging expenses, as well as a $10 per hour
imbursement for the calculated average amount of drive time from the Albuquerque shop to the out-
of-town job site and back to the shop even if he did not return to the shop. (/d. at 22:22-23:14, 47:6—
48:10).

B. Plaintiff Harold Brown

Plaintiff Harold D. Brown (“Brown”) was hired by Defendants in March 201] and is
currently employed as a Helper working in the field of construction projects. (Doc. 74-6). While
Brown was not required to report to Defendants’ Albuquerque shop before or after working at an out-
of-town job site, if Albuquerque was closer to Brown’s residence than the job site he would go to the
shop to ride in a company vehicle rather than taking his personal vehicle. (Doc. 74-8 at 32:25-
40:19). Brown was paid at the designated laborer wage rate for all of his work on the job site unless
he erected frames or set glass, in which case he was paid the glazier rate for his time spent on those

activities. (Doc. 74-5 at $5, 7). Brown received subsistence for any public works projects he

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worked on, which included a weekly per diem to cover good and lodging expenses, as well as a $10
per hour imbursement for the calculated average amount of drive time from the Albuquerque Shop to
the out-of-town job site and back to the shop. (Doc. 74-8 at 48:5-49:14).
Cc. Plaintiff Vernon Yazzie

Plaintiff Vernon Yazzie (“Yazzie”) was employed by Defendants as a Helper working in the
filed on construction projects from approximately March 2000 to December 2015. (Doc. 74-6).
Yazzie was not required to report to Defendants’ Albuquerque shop but his choice whether he
reported to the Albuquerque shop to ride in a company vehicle rather than driving his own personal
vehicle to a job site was a choice Yazzie made on a job-by-job basis. (Doc. 74-9 at 8:5-16, 27:13—
28:4). Yazzie was paid at the designated laborer wage rate for all of his work on the job site unless
he erected frames or set glass, in which case he would receive the glazier rate. (Doc. 74-1 at 125:17—
126:3). Yazzie received subsistence for any public works projects he worked on, which included a
weekly per diem to cover food and lodging expenses, as well as a $10 per hour imbursement for the
calculated average amount of drive time from the Albuquerque shop to the out-of-town job site and
back to the shop. (Doc. 74-9 at 28:5—21).
D, Plaintiff Hector Mayorga

Plaintiff Hector Mayorga (“Mayorga”) was employed by Defendants as an Apprentice
working in the field on construction projects from approximately July 2010 to February 2016. (Doc.
74-10 at 4:14-21, 6:3-4). Mayorga was a resident of Albuquerque and regularly reported to
Defendants’ Albuquerque shop at the beginning of the workweek to ride in a company vehicle with
other employees to an out-of-town job site and then return to Albuquerque after completion of the
workweek. (/d, at 20:23-25, 22:6-21, 23:6-15). Mayorga was paid at the designated apprentice
wage rate for all of his work on the job site. (/d. at 20:6-21). Mayorga received subsistence for any

public works projects he worked on, which included a weekly per diem to cover food and lodging
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expenses, as well as a $10 per hour imbursement for the calculated average amount of drive time
from the Albuquerque shop to the out-of-town job site and back to the shop. (/d. at 23:16-24:1).
IV. DISCUSSION

A, Compensability of Commuting Time Under the FLSA and Minimum Wage Act

Plaintiffs allege a claim under the FLSA and Minimum Wage Act for time spent traveling to
and from the out-of-town job sites at which they worked. (Doc. 74 at 11-12). Defendants argue
Plaintiffs’ purported claim for travel time fails on the merits. (/d. at 12). The Court finds that the
deposition testimony does not dispute the following facts material to this question: field employees
were not required to report to the Albuquerque shop before proceeding to the job site where they
would perform their work; Defendants’ employees had the option of going to the Albuquerque shop
at the beginning of the workweek to catch a ride to the out-of-town job site; employees were free to
return directly home at the end of the workweek without stopping at the Albuquerque shop. (Doc.
74-7 at 19:18-24, 55:25—56:9: Doc. 74-8 at 32:25—40:19; Doc. 74-9 at 8:5—16, 27:13-28:4; Doc. 74-
10 at 20:23-25, 22:6-21, 23:6-15). The only remaining issue is what the law demands on these
undisputed facts.

First, the law forecloses relief under the FLSA. Congress enacted the Portal-to—Portal Act of
1947, 29 U.S.C. §§ 251-262, to define certain activities that employers need not compensate
pursuant to the FLSA. Specifically, Portal-to—Portal Act provides that the following activities are
not compensable:

|) walking, riding, or traveling to and from the actual place of performance of the
principal activity or activities which such employee is employed to perform, and

2) activities which are preliminary to or postliminary to said principal activity or
activities, which occur either prior to the time on any particular workday at which
such employee commences, or subsequent to the time on any particular workday
at which he ceases, such principal activity or activities.

29 U.S.C. § 254(a).
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Under Department of Labor regulations explaining the Portal-to—Portal Act, see 29 C.F.R. §
790.6 (1947), the workday begins with the “first principal activity” and ends with the last. /BP, Inc.
v. Alvarez, 546 U.S. 21, 34 (2005). The Supreme Court clarified what constitutes a “principal
activity” in JBP, Inc. v. Alvarez, 546 U.S. at 34. It held that anything that is “integral and
indispensable” to a “principal activity” is itself a “principal activity” under the Portal-to—Portal Act,
which makes it compensable. 546 U.S. at 37. Travel from a pickup point to the place where work is
to be performed is not compensable time. Vega v. Gasper, 36 F.3d 417, 424-25 (5th Cir. 1994)
(holding travel time from pickup point to work site up to two hours away was not compensable).

The United States Court of Appeals for the Tenth Circuit has interpreted what constitutes
preliminary, non-compensable activities. In Smith v. Aztec Well Servicing Co., 462 F.3d 1274 (10th
Cir. 2006), the plaintiffs argued that they were entitled to compensation for time spent loading their
trucks with safety and protective gear, then traveling to the job site. See 462 F.3d at 1276-77. The
Tenth Circuit held that, where:

an employee’s activity “takes all of a few seconds and requires little or no

concentration,” then the activity is “properly considered not work at all.” Moreover,

“[rjequiring employees to show up at their work stations with such standard

equipment [as a hard hat, safety glasses, earplugs, and safety shoes] is ... simply a

prerequisite for the job, and is purely preliminary in nature. Consequently, the

plaintiffs’ travel to and from the well sites was not integral and indispensable to their
principal activities merely because they were required to carry their personal safety
equipment along with them.

Id. at 1289 (internal citations omitted).

In this case, the fact that Plaintiffs had the option of reporting to the Albuquerque shop at the
beginning of the workweek to drive together to job sites in a company vehicle does not require
payment of travel time because the travel time is not integral and indispensable to their principal
duties. Smith, 462 F.3d at 1288. Plaintiffs were not required to report to the Albuquerque shop and

had the option of driving directly to the job site. (Doc. 74-1 at 57:5-21). In addition, Plaintiffs have

presented no evidence that employees received vital instructions at the Albuquerque shop before
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traveling to the work site, nor is there any evidence that they regularly picked up or dropped off
essential equipment or paperwork while traveling.

To the contrary, the summary judgment evidence shows that Plaintiffs were not required to
transport critical tools required for their work from the Albuquerque shop because materials for use
on a job site were delivered by a special truck driven by a shop employee, vendors or suppliers. (Jd.
at 98:10-21). Ordinarily, time spent commuting to work is not compensable, “even if the employee
is also transporting equipment for the employer’s benefit.” Garcia v. Crossmark, Inc., 157 F. Supp.
3d 1046, 1050 (D.N.M. 2015) (quoting Dooley v. Libert Mut. Ins. Co., 307 F. Supp. 2d 234, 246 (D.
Mass. 2004)). While employees may occasionally transport materials from the Albuquerque shop to
the job site, this practice was not sufficiently regular to constitute a regular course of business.
Smith, 462 F.3d at 1289. Moreover, there is no evidence to dispute that Plaintiffs were compensated
for time spent loading any trailer at the Albuquerque shop. (Doc. 74-1 at 56:5-11; Doc. 74-3 at
58:14-23). Rather, the question is whether time spent in transit is compensable. The fact that
Plaintiffs received compensation for occasional loading of materials at the Albuquerque shop does
not transform their drive to the job site into working time. Garcia, 157 F. Supp. 3d at 1050. Thus,
the Court finds that, based on the uncontested facts, Plaintiffs’ commute to the job site does not
constitute working time and summary judgment on this issue will be granted in favor of Defendants.

In addition, the fact that employees who reported to the Albuquerque shop to get a ride to the
job site used company vehicles is irrelevant. United Transp. Union Local 1745 v. City of
Albuquerque, 178 F.3d 1109, 1120-21 (10th Cir. 1999). The record reflects Defendants paid field
employees at the rate of $10.00 per hour for travel time from the Albuquerque shop to the job site at
the beginning of the week and from the job site back to the Albuquerque shop at the end of the week,
plus per diem payments for food and lodging. (Doc. 74-3 at 48:13-19, 49:13-50:4). Employees
were paid this amount for travel time even if they did not report to the Albuquerque shop and instead

drove from their homes directly to the job site at the beginning of the workweek or from the job site

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to their homes at the end of the workweek. (Doc. 74-5 at J 11). Defendants made these payments
not out of any legal obligation but for employee relations purposes and to remain competitive in the
market. (Doc. 74 at 16). Thus, the fact that Defendants paid employees for time spent traveling to
and from job sites does not provide any basis to infer a legal obligation to pay for that time pursuant
to the FLSA. Accordingly, Plaintiffs’ travel time is not compensable under the FLSA.

Finally, the travel time at issue is also not compensable pursuant to the Minimum Wage Act.
Segura v. JW. Drilling, Inc., 355 P.3d 845, 848-49 (N.M. 2015) (rejecting contention that travel
time to and from remote locations beyond a “normal” commute is compensable since the Minimum
Wage Act is silent on travel time, whether within a “normal commute” or otherwise). Generally,
commuting time to and from a job site is not compensable under the Minimum Wage Act absent an
agreement to the contrary. Jd. at 849. Since the Minimum Wage Act does not expressly require
compensation for travel time to and from the job site, the general rule that commuting time is not
compensable applies. Because Plaintiffs’ travel time is not compensable under the Minimum Wage
Act or the FLSA, Defendants’ Motion for Summary Judgment on Plaintiffs’ travel time claims shall
be GRANTED. (Doc. 74).

B. Plaintiffs’ Claims for Violation of the Public Works Act and for Unjust Enrichment

Plaintiffs claim that Defendants have failed to comply with the terms of the Public Works
Act. (Doc. 7] at 921). Plaintiffs allege that they “and others similarly situated were not paid the
hourly wages required by the wage determinations on those public works projects, nor were they
provided with overtime on public works projects at one and one-half times the prevailing rate.” (/d.).
Plaintiffs claim that their work included glazier duties, and therefore, they should have been paid at
the higher glazier wage rate rather than the prevailing laborer rate for some or all of their work time
on projects. (Doc. 85 at 4).

The Public Works Act, NMSA 1989 §§ 13-4-10-13-4-17, requires contractors and

subcontractors with contractors for covered public construction projects to:

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pay all mechanics and laborers employed on the site of the project, unconditionally

and not less often than once a week and without subsequent unlawful deduction or

rebate on any account, the full amounts accrued at time of payment computed at wage

rates and fringe benefit rates not less than those determined pursuant to Subsection B

of this section to be the prevailing wage rates and prevailing fringe benefit rates

issued for the project.

NMSA 1989 § 13-4-11(A). The Department of Workforce Solutions’ Public Works Act regulations
contain job classification and descriptions, including a description of the work of a glazier:

Installs metal window and door frames without glass when not welded to frame

structures. Installs glass, including plate and window glass, mirrors, beveled plate,

rough, ribbed, wire, figured, colored, art and other type glass when set in sash,

frames, doors, skylights, etc., when set with putty, molding or other methods which

are common to the glazing trade.
11.1.2.18(Q) NMAC.

Based on the level of experience of the employee, Defendants characterized their field
employees as either glaziers, apprentice glaziers (who were required to be enrolled in an approved
apprenticeship program), or helpers. (Doc. 74-1 at 26:14-20). Employees designated as glazers
were paid the prevailing glazier wage rate for all hours of work on a public construction project. (/d.
at 22:21-23:9). Apprentice glaziers were paid a percentage of the prevailing glazier rate for all hours
of work on the job site. (/d.). Helpers were paid at the Laborer Group III semi-skilled prevailing
wage rate for all hours of work on the job site unless they were performing glazier duties, in which
case they were paid at the prevailing glazier rate. (/d.).

With regard to Plaintiffs’ claims for violations of the Public Works Act and for unjust
enrichment relating to employees designated as apprentice glaziers or helpers, the Court finds that
material issues of fact remain as to how much time these employees actually performed glazier job
duties and whether these employees were misclassified as apprentice glaziers or helpers. As such,
Defendants’ Motion for Summary Judgment on Plaintiffs’ claims for violations of the Public Works

Act and for unjust enrichment shall be DENIED in part as those claims relate to employees classified

as apprentice glaziers or helpers. (Doc. 74).

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Because Defendants pay their glaziers the prevailing glazier wage rate for all work on the job
site, including time spent in set up and material distribution, the undisputed summary judgment
evidence shows that Defendants did not violate the Public Works Act with regard to payment of
employees in the glazier job classification. For example, Plaintiff Nez works in the field as a glazier
on construction projects. (Doc. 74-7 at 3:9-18, 4:12—16, 5:24-6:6). Nez was paid at the designated
glazier wage rate for all of his work on the job site. (/d. at 31:13-16). As there has been no
underpayment of Plaintiff Nez or any employees designated as glaziers under the Public Works Act,
there is no basis for an unjust enrichment claim against Defendants relating to the payment of these
Plaintiffs. Accordingly, Defendants’ Motion for Summary Judgment on Plaintiffs’ claims for
violations of the Public Works Act and for unjust enrichment shall be GRANTED in part as those
claims relate to employees classified as glaziers. (Doc. 74).

Ws CONCLUSION

It is therefore ORDERED that Defendants’ Motion for Summary Judgment shall be
GRANTED in part and DENIED in part. (Doc. 74). Plaintiffs’ claims for travel time relating to
their commute to and from job sites under the FLSA and the Minimum Wage Act shall be
DISMISSED WITH PREJUDICE. In addition, Plaintiffs’ claims for violations of the Public
Works Act and for unjust enrichment relating to employees classified as glaziers shall be
DISMISSED WITH PREJUDICE.

It is so ORDERED.

Hr yy Per oy Orr
SIGNED this 7 _ day of ACA 2016,

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ROBERT A. eee.
Senior United States, istrict Judge

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